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                        EXHIBIT “3”
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                                    B R O O K L A N D S   N E W   M E D I A   P R E S E N T S :



                      bmw of north america
                                     C E L E B R A T I N G            4 5      Y E A R S



                                           A SPECIAL TRIBUTE PUBLICATION independently
                                          PRODUCED in honour OF bmw of north america

                                    A Brooklands new media special commemorative publication
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   B R O O K L A N D S   N E W   M E D I A   P R E S E N T S :



bmw of north america
    C E L E B R A T I N G            4 5      Y E A R S


                                                                    The BMW Group (BMW) operates a global network of
                                                                    manufacturing sites and dealerships, with around 131,200
                                                                    employees in more than 140 countries worldwide. The
                                                                    group’s activities in the Americas account for a significant
                                                                    proportion of its total revenue, and BMW of North America
                                                                    (BMW NA) is one of its key subsidiaries in the region.


                                                                 BMW NA was established in the US in 1975 to take over the import and
                                                                 distribution of BMW branded vehicles, which had been available in the
                                                                 country since the 1950s. The company gained momentum over the
                                                                 following years with the introduction of several popular models, and began
                                                                 to distribute BMW motorcycles in 1980, followed by light trucks in 1999.
                                                                 The company is headquartered in New Jersey, and is part of BMW’s extensive
                                                                 network of sales locations that operate across the US. Its wide range of
                                                                 models includes sedans, coupés, convertibles and sports activity vehicles,
                                                                 and it offers a bespoke ‘build your own’ vehicle service, with a variety of
                                                                 customization options.
                                                                 BMW NA is the official partner of New York’s Monticello Motor Club, which
                                                                 offers exclusive driving experiences, track and venue rentals, and event
                                                                 services. The company is also involved in motorsports in the US, and has
                                                                 achieved impressive success during its ten-year partnership with Rahal
                                                                 Letterman Lanigan Racing.
                                                                 This independently produced, commemorative publication will celebrate
                                                                 45 years of BMW NA by outlining its history, profiling its current activities
                                                                 and highlighting its key achievements. Since its inception the company has
                                                                 become a vital element of BMW’s operations in the Americas, and with its
                                                                 outstanding selection of vehicles and comprehensive range of services it will
                                                                 surely continue to build on its record of success in the coming years.
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                                                                                            pr es e ntati o n cas e
                                                                                        A select number of VIPs will receive the
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